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 6
 7   Attorneys for Defendants, DIVERSIFIED HOLDINGS, LLC d/b/a
     REAL ESTATE CONNECTION
 8
 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
     FRANCISCO GARCIA QUIROZ,                         Case No. 2:16-cv-03918 FMO(Ex)
12   FABIOLA VILLALOBOS, et al.
13         Plaintiffs,                                FIRST AMENDED DEFENDANT
14                                                    DIVERSIFIED HOLDINGS, LLC
                           v.
                                                      d/b/a REAL ESTATE
15                                                    CONNECTION’S OBJECTIONS TO
     DIVERSIFIED HOLDINGS, LLC and
16   REAL ESTATE CONNECTION, a                        PLAINTIFFS’ FRCP RULE 26(a)(3)
     business form unknown, and DOES 1                PRETRIAL DISCLOSURES
17
     through 10, Inclusive,
18                                                    Judge: Hon. Fernando M. Olguin
           Defendants.                                Courtroom No. 22
19
20
21         Pursuant to Fed. R. Civ. P. 26(a)(3), Defendant DIVERSIFIED HOLDINGS,
22   LLC d/b/a REAL ESTATE CONNECTION (“DIVERSIFIED”) hereby submits its
23   objections to plaintiffs’ FRCP Rule 26(a)(3) Disclosures (Document No. 84) as
24   follows:
25                       OBJECTIONS TO PLAINTIFFS’ WITNESSES
26         1.     Adalid Orozco – According to Plaintiffs’ disclosures, this witness
27   lived at a property neither owned nor managed by Defendant. Plaintiffs claim the
28   unrelated property was managed by                nonparty property manager, Fernando
                                                  1

                              FIRST AMENDED DEFENDANT’S OBJECTIONS TO
                          PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL DISCLOSURES
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 1   Ramirez, who has also managed the subject property during part of plaintiffs’
 2   tenancy. The property owned by the other nonparty person or entity is entirely
 3   unrelated to Defendant. As such, the unrelated property has different supervisors,
 4   rules, regulations, and policies. The testimony of tenants at an unrelated property
 5   neither owned or operated by Defendant is irrelevant (FRE 401, 402), immaterial,
 6   lacks foundation, is cumulative (FRE 403), prejudicial (FRE 403), and will be
 7   misleading to the jury (FRE 403).
 8
 9         2.     Jessica Cruz - According to Plaintiffs’ disclosures, this witness lived
10   at a property neither owned nor managed by Defendant. Plaintiffs claim the
11   unrelated property was managed by nonparty property manager, Fernando Ramirez,
12   who has also managed the subject property during part of plaintiffs’ tenancy. The
13   property owned by the other nonparty person or entity is entirely unrelated to
14   Defendant. As such, the unrelated property has different supervisors, rules,
15   regulations, and policies. The testimony of tenants at an unrelated property neither
16   owned or operated by Defendant is irrelevant (FRE 401, 402), immaterial, lacks
17   foundation, is cumulative (FRE 403), prejudicial (FRE 403), and will be misleading
18   to the jury (FRE 403).
19
20         3.     Alexis Leon - According to Plaintiffs’ disclosures, this witness lived at
21   a property neither owned nor managed by Defendant. Plaintiffs claim the unrelated
22   property was managed by nonparty property manager, Fernando Ramirez, who has
23   also managed the subject property during part of plaintiffs’ tenancy. The property
24   owned by the other nonparty person or entity is entirely unrelated to Defendant. As
25   such, the unrelated property has different supervisors, rules, regulations, and
26   policies. The testimony of tenants at an unrelated property neither owned or
27   operated by Defendant is irrelevant (FRE 401, 402), immaterial, lacks foundation, is
28   cumulative (FRE 403), prejudicial (FRE 403), and will be misleading to the jury
                                                2

                            FIRST AMENDED DEFENDANT’S OBJECTIONS TO
                        PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL DISCLOSURES
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 1   (FRE 403).
 2
 3         4.     Martha Gonzalez - According to Plaintiffs’ disclosures, this witness
 4   lived at a property neither owned nor managed by Defendant. Plaintiffs claim the
 5   unrelated property was managed by nonparty property manager, Fernando Ramirez,
 6   who has also managed the subject property during part of plaintiffs’ tenancy. The
 7   property owned by the other nonparty person or entity is entirely unrelated to
 8   Defendant. As such, the unrelated property has different supervisors, rules,
 9   regulations, and policies. The testimony of tenants at an unrelated property neither
10   owned or operated by Defendant is irrelevant (FRE 401, 402), immaterial, lacks
11   foundation, is cumulative (FRE 403), prejudicial (FRE 403), and will be misleading
12   to the jury (FRE 403).
13
14         5.     Maria Juarez - According to Plaintiffs’ disclosures, this witness lived
15   at a property neither owned nor managed by Defendant. Plaintiffs claim the
16   unrelated property was managed by nonparty property manager, Fernando Ramirez,
17   who has also managed the subject property during part of plaintiffs’ tenancy. The
18   property owned by the other nonparty person or entity is entirely unrelated to
19   Defendant. As such, the unrelated property has different supervisors, rules,
20   regulations, and policies. The testimony of tenants at an unrelated property neither
21   owned or operated by Defendant is irrelevant (FRE 401, 402), immaterial, lacks
22   foundation, is cumulative (FRE 403), prejudicial (FRE 403), and will be misleading
23   to the jury (FRE 403).
24
25         6.     Alexis Leon - According to Plaintiffs’ disclosures, this witness lived at
26   a property neither owned nor managed by Defendant. Plaintiffs claim the unrelated
27   property was managed by nonparty property manager, Fernando Ramirez, who has
28   also managed the subject property during part of plaintiffs’ tenancy. The property
                                               3

                           FIRST AMENDED DEFENDANT’S OBJECTIONS TO
                       PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL DISCLOSURES
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 1   owned by the other nonparty person or entity is entirely unrelated to Defendant. As
 2   such, the unrelated property has different supervisors, rules, regulations, and
 3   policies. The testimony of tenants at an unrelated property neither owned or
 4   operated by Defendant is irrelevant (FRE 401, 402), immaterial, lacks foundation, is
 5   cumulative (FRE 403), prejudicial (FRE 403), and will be misleading to the jury
 6   (FRE 403).
 7
 8         7.     Catherine Tuinei - According to Plaintiffs’ disclosures, this witness
 9   did not live at the Subject Property, and has not lived at the property. Instead, she is
10   the relative of a tenant. Her testimony of Defendant’s policies and procedures is
11   therefore irrelevant (FRE 401, 402), immaterial, lacks foundation, is cumulative
12   (FRE 403), prejudicial (FRE 403), and will be misleading to the jury (FRE 403).
13
14            OBJECTIONS TO PLAINTIFFS’ DOCUMENT PRODUCTION
15
16
       Ex #                         Description                               Objections
17
                                                                         (See Key Below)
18
19    36        Responses of Diversified Holdings, LLC to               2,3,7, 9 (privacy)

20              Plaintiff’s Demand for Production of Documents

21              and Things, Set One

22    38        Responses of Diversified Holdings, LLC to               2
23              Plaintiffs’ Demand for Production of Documents
24              and Things, Set Two
25
      40        Supplemental Responses of Diversified Holdings,         2,7, 9 (privacy)
26
                LLC to Plaintiffs’ Demand for Production of
27
                Documents and Things, Set Three
28
                                                 4

                            FIRST AMENDED DEFENDANT’S OBJECTIONS TO
                        PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL DISCLOSURES
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 1
 2    42      Responses of Diversified Holdings, LLC to                  2,7, 9 (privacy)

 3            Plaintiffs’ Demand for Production of Documents

 4            and Things, Set Four

 5    44      Responses of Diversified Holdings, LLC to                  2,4,7, 9 (privacy)
 6            Plaintiffs’ Fourth Set of Interrogatories
 7
      46      Responses of Diversified Holdings, LLC to                  2,7
 8
              Plaintiff’s Special Interrogatories, Set Two
 9
10    48      Responses of Diversified Holdings, LLC to                  2,7, 9 (privacy)
11            Plaintiff’s Special Interrogatories, Set Three
12
      50      Responses of Diversified Holdings, LLC to                  2,4,7, 9 (privacy)
13
              Plaintiff’s Special Interrogatories, Set Four
14
15    52      Responses of Diversified Holdings, LLC to                  2,7
16            Plaintiffs’ Demand for Production of Documents
17            and Things, Set Five
18
      53      Grant Deed                                                 2,3,4,6,7, 9
19
                                                                         (privacy)
20
21    54      Defendant Diversified Holdings, LLC dba Real               2,3,7, 9 (privacy)

22            Estate Connection’s First Amended Disclosures

23            Pursuant to Federal Rules of Civil Procedure, Rule

24            26(a)(1)

25
26   Grounds for Objection (Key)
27   1.    No Objection; Admissibility Stipulated
28   2.    Irrelevant
                                                 5

                             FIRST AMENDED DEFENDANT’S OBJECTIONS TO
                         PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL DISCLOSURES
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 1   3.   Hearsay
 2   4.   Best Evidence
 3   5.   Inadmissible Opinion
 4   6.   Insufficient Foundation (Relevancy, Personal Knowledge, Authenticity,
 5        Identity)
 6   7.   Unduly Time Consuming, Prejudicial, Confusing, or Misleading
 7   8.   Subsequent Repair
 8   9.   Other (Specify)
 9
10                                         THE SAFARIAN FIRM, APC.
11
12   DATED: February 8, 2018               By: Harry A. Safarian
13                                               HARRY A. SAFARIAN
                                                 PIERRO H. BABAIAN
14                                         Attorneys for Defendant,
15
                                           DIVERSIFIED HOLDINGS, LLC dba
                                           REAL ESTATE CONNECTION
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                          FIRST AMENDED DEFENDANT’S OBJECTIONS TO
                      PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL DISCLOSURES
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 1                                            PROOF OF SERVICE

 2          I declare that I am a citizen of the United States and am a resident or employed in Los Angeles
     County, California; that my business address is 3150 Montrose Avenue, Glendale, California 91214; that I
 3   am over the age of 18 and not a party to the action.
 4
     On February 3, 2018, I served the foregoing document by mail and electronic mail to the attorneys of
 5   record and/or the person(s) as indicated on the attached service list described as “DEFENDANT

 6   DIVERSIFIED HOLDINGS, LLC d/b/a REAL ESTATE CONNECTION’S
     OBJECTIONS TO PLAINTIFFS’ FRCP RULE 26(a)(3) PRETRIAL
 7   DISCLOSURES " in this action as follows:
 8
                                                 Craig P. Fagan, Esq.
 9                                    LAW OFFICES OF CRAIG P. FAGAN
                                                  6320 Raydel Court
10                                              San Diego, California
                                     Tel.: (619) 528-9600 | Fax: (619) 528-9675
11                                         Email: cpfagan@faganlegal.com
12   [X]      (BY ELECTRONIC MAIL) I personally emailed the reference document to each of the persons on
13   the attached service list.

14   [ ]      (BY MAIL)       I am familiar with the practice of The Safarian Firm, APC for collection and
     processing of correspondence for mailing with the United States Postal Service. Correspondence so
15   collected and processed is deposited with the United States Postal Service that same day in the ordinary
     course of business. On this date, a copy of said document was placed in a sealed envelope, with postage
16   fully prepaid, addressed as set forth herein, and such envelope was placed for collection and mailing at The
     Safarian Firm, APC, Glendale, California, following ordinary business practices.
17
18   [ ]     (BY FEDEX) I am familiar with the practice of The Safarian Firm, APC for collection and
     processing of correspondence for delivery by overnight courier. Correspondence so collected and
19   processed is deposited in a box or other facility regularly maintained by FedEx that same day in the
     ordinary course of business. On this date, a copy of said document was placed in a sealed envelope
20   designated by FedEx with delivery fees paid or provided for, addressed as set forth herein, and such
     envelope was placed for delivery by FedEx at The Safarian Firm, APC, Glendale, California, following
21   ordinary business practices.
22
     [ ]      (BY PERSONAL SERVICE) I personally delivered the documents identified above to individual
23   identified above, on the referenced date.

24           I am employed by a member of the bar of this court and made the service referenced herein.

25                                                            ____________________
                                                              Pierro H. Babaian
26
27
28


                                                          1
                                                PROOF OF SERVICE
